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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF KENTUCKY
                                    AT LONDON
                            CIVIL ACTION NO. 6:16-193-DLB

UNITED STATES OF AMERICA,                                                           PLAINTIFF


V.                      ANSWER OF CITIZENS NATIONAL BANK


ESTATE OF SUE C. MEADOWS, et al.                                                DEFENDANTS


                                    ***   ***   ***   ***    ***

       Comes the Defendant, Citizens National Bank, by and through the undersigned counsel,

and for its Answer to the Complaint, states as follows:

1.     This answering Defendant is without sufficient knowledge to either admit or deny the

       allegations contained within paragraph number 1, 2, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, and

       14 of the Plaintiff’s Complaint; therefore, the same are denied.

2.     With regard the Complaint’s paragraph number 15, this answering Defendant admits that

       it has an interest in the property by virtue of a Judgment Lien, recorded on April 13, 2016,

       in Encumbrance Book 39, Page 525 in the McCreary County Clerk’s Office, Kentucky,

       and further admits that a true and accurate copy of said Judgment Lien is attached to the

       Complaint as Exhibit H. The remainder of the Complaint’s paragraph number 15 is denied.

3.     This answering Defendant is without sufficient knowledge to either admit or deny the

       allegations contained within paragraph number 16 of the Plaintiff’s Complaint; therefore

       the same is denied.

4.     This answering Defendant denies the allegations contained within paragraph number 17 of

       the Plaintiff’s Complaint.

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5.    This answering Defendant is without sufficient knowledge to either admit or deny the

      allegations contained within paragraph number 18 of the Plaintiff’s Complaint; therefore

      the same is denied.

6.    The Plaintiff’s Complaint fails to state the claim upon which relief can be granted.

7.    This answering Defendant reserves the right to assert any and all other affirmative defenses

      available to it under the Federal Rules of Civil Procedure as they may become known

      through discovery.

WHEREFORE, the Defendant, Citizens National Bank, demands as follows:

A.    That is recover all amounts due and owing it by virtue of the above-referenced Judgment

      Lien;

B.    That the interest of Citizens National Bank be held superior to any and all other liens except

      for Ad Valorem taxes;

C.    For its costs herein; and

D.    For any and all other relief to which it may appear entitled.



                                                     Respectfully Submitted,

                                                     /s/ John Sanders Gillum
                                                     John Sanders Gillum
                                                     Gillum & Gillum
                                                     117 North Main Street
                                                     P.O. Box 1147
                                                     Somerset, Kentucky 42502
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                                                     Attorney for Citizens National Bank




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                                CERTIFICATE OF SERVICE

         It is hereby certified that on October 12, 2016 a copy of the foregoing was electronically
filed with the clerk of the court using the CM/ECF system, which will send a notice of electronic
filing to all CM/ECF participants.


Lauren B. Durham
Foreman, Watson, Holtrey, LLP
530 Frederica Street
Owensboro, KY 42301

                                                     /s/ John S. Gillum
                                                     Counsel for Citizens National Bank




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